                        JOURNAL ENTRY and OPINION
{¶ 1} The state charged defendant-parolee Frederick Brown with escape after he failed to report timely to his parole officer. Brown filed a motion to dismiss the charge, citing to our decision in State v.Thompson, Cuyahoga App. No. 78919, 2002-Ohio-6478, in which we held that a parolee cannot be prosecuted for escape if the underlying offense giving rise to the parole status had been committed prior to July 1, 1996. The court granted the motion to dismiss.
  {¶ 2} We sustain the state's assignment of error because the Ohio Supreme Court recently reversed our decision in Thompson. In State v.Thompson, 102 Ohio St.3d 287, 2004-Ohio-2946, the supreme court held that the date of the underlying offense is irrelevant to the crime of escape. For purposes of the escape charge, we need only be concerned with the date on which the escape occurred. It follows that the court erred by granting Brown's motion to dismiss.
Reversed and remanded.
This cause is reversed and remanded for proceedings consistent with this opinion.
It is, therefore, ordered that said appellant recover of said appellee its costs herein taxed.
It is ordered that a special mandate be sent to said court to carry this judgment into execution.
A certified copy of this entry shall constitute the mandate pursuant to Rule 27 of the Rules of Appellate Procedure.
Gallagher, P.J., and Calabrese, Jr., J., Concur.
(*SITTING BY ASSIGNMENT: Judge James D. Sweeney, Retired, of the Eighth District Court of Appeals.)